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STATE OF MISSOURI             )
                              )
COUNTY OF ST. LOUIS           )

              IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                             STATE OF MISSOURI

 MARILYN MARGULIS,
                                                            Cause No.
        Plaintiff,
                                                            Division
 v.

 HOMEADVISORS, INC.,                                        ST. LOUIS COUNTY SHERIFF
     Serve: C T CORPORATION SYSTEM,
     Registered Agent
            120 South Central Ave
            Clayton, MO 63105
            St. Louis County

 and

 JOHN DOES 1-10,                                            HOLD SERVICE

        Defendants.

 PETITION FOR BREACH OF TELEPHONE CONSUMER PROTECTION ACT AND
    BREACH OF MISSOURI MERCHANDISING PRACTICES ACT Chapter 407

                                            PARTIES
                                           PLAINTIFF

1.      Plaintiff is a resident of St. Louis County, Missouri and has residential telephone service
at her residence using telephone numbers (636) 536-6446, (636) 812-2131 and (636) 536-6678.

2.      At all times relevant, Plaintiff Marilyn Margulis or her representative (hereinafter
"Plaintiff") had telephone service at (636) 536-6446, (636) 812-2131 and (636) 536-6678.

3.    Plaintiff telephone number (636) 536-6446 is and was at all relevant times on the
Missouri Do Not Call List.

4.    Plaintiff telephone number (636) 812-2131 is and was at all relevant times on the
Missouri Do Not Call List.

5.    Plaintiff telephone number (636) 536-6678 is and was at all relevant times on the
Missouri Do Not Call List.

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6.     Plaintiff telephone number (636) 536-6446 is and was at all relevant times on the
National Do Not Call List.

7.     Plaintiff telephone number (636) 812-2131 is and was at all relevant times on the
National Do Not Call List.

8.     Plaintiff telephone number (636) 536-6678 is and was at all relevant times on the
National Do Not Call List.

                                      DEFENDANTS
                                    HOMEADVISOR, INC.

9.     Defendant, HomeAdvisor, Inc., (hereinafter HomeAdvisor) is a foreign corporation
located at14023 Denver West Pkwy, Suite 100, Golden, CO 80401 registered to do business in
Missouri.

10.  C T Corporation System is the Registered Agent of the Defendant corporation
HomeAdvisor, Inc. in Missouri.

11.   Defendant, HomeAdvisor, Inc., transacts any business in Missouri as contemplated by
RSMo. §506.500(1) and this cause of action arises out of such transaction(s).

12.   Defendant, HomeAdvisor, Inc., has committed one or more tortious acts in Missouri as
contemplated by RSMo. §506.500(3) and this cause of action arises out of such act(s).

                                          John Does 1-10

13.    Defendant, John Does 1-10 will be identified through discovery, but are not presently
known.

                                       ACTS OF AGENTS

14.     Whenever it is alleged in this Petition that Defendants did any act, it is meant that the
Defendants performed, caused to be performed, and/or participated in the act and/or that
Defendants' officers, employees, contractors, assigns, successors, predecessors, affiliates, or
other agent performed or participated in the act on behalf of, for the benefit of, and/or under the
authority of Defendants.

                                  COUNT ONE- DAMAGES

      COMES NOW Plaintiff, Marilyn Margulis, and for her cause of action against
Defendants states as follows:

       THE TELEPHONE CONSUMER PROTECTION ACT

15.    47 U.S.C. §227 the Telephone Consumer Protection Act (TCPA) and the promulgated
thereunder regulations provides in pertinent part 64.12000(c)(2) et seg which states: (c) No

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person or entity shall initiate any telephone solicitation to: ...(2) A residential telephone
subscriber who has registered his or her telephone number on the national do-not-call registry of
persons who do not wish to receive telephone solicitations that is maintained by the Federal
Government. Such do-not-call registrations must be honored indefinitely, ....”.

16.     47 C.F.R. 64.1200(d)(1) Written policy. Persons or entities making calls for
telemarketing purposes must have a written policy, available upon demand, for maintaining a do-
not-call list.

17.    Under the TCPA, as interpreted by the Federal Communications Commission
(”FCC”), a company on who’s behalf a telephone solicitation is made bears ultimate
responsibility for any violations of the TCPA. In re DISH Network, LLC, 28 F.C.C. Rcd. 6574,
6590 (2013)

18.      Calls placed by a third party on behalf of that company are treated as if the company
itself placed the call. Id.

19.      The phone calls at issue in this case were made by and/or for the benefit of Defendant.
Because these calls were made by or “on behalf” of Defendant, Defendant bears the
responsibility for any violations of the TCPA, even if Defendant did not directly place the calls.
Defendant is also responsible for illegal actions of its agents and is also responsible for any
illegal actions conducted in the course of any joint venture with any third party.

       THE MISSOURI NO-CALL LAW

20.    Mo. Rev. Stat. § 407.1098.1 provides:

               No person or entity shall make or cause to be made any telephone
               solicitation to the telephone line of any residential subscriber in this state
               who has given notice to the attorney general, in accordance with rules
               promulgated pursuant to section 407.1101 of the subscriber’s objection to
               receiving telephone solicitations.

21.    A “residential subscriber” is defined as, “a person who has subscribed to residential
telephone service from a local exchange company or the other persons living or residing with
such person.” Mo. Rev. Stat. § 407.1095(2).

22.     A “telephone solicitation” is defined as “any voice communications over a telephone line
from a live operator, through the use of ADAD equipment or by other means for the purpose of
encouraging the purchase or rental of, or investment in, property, goods or services...” Mo. Rev.
Stat. § 407.1095(3).

23.      Defendants call to a telephone subscriber on the Missouri Do Not Call List is an unfair
practice, because it violates public policy, and because it forced Plaintiff to incur time and
expense without any consideration in return. Defendants’ practice effectively forced Plaintiff to
listen to Defendants’ advertising campaign.


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24.     Defendants violated the unfairness predicate of the Act by engaging in an unscrupulous
business practice and by violating Missouri statutory public policy, which public policy
violations in the aggregate caused substantial injury to hundreds of persons.

25.    Defendants’ actions prevented the Plaintiff’s telephone from being used for other
purposes during the time Defendant was occupying the Plaintiff's telephone for Defendants’
unlawful purpose.

26.    Chapter 407.1107 provides for up to $5,000 in damages for each knowingly violation.

       THE MISSOURI TELEMARKETING LAW

27.    Mo. Rev. Stat. § 407.1076 provides in pertinent part:

              It is an unlawful telemarketing act or practice for any seller or
              telemarketer to engage in the following conduct:

              (3) Cause the telephone to ring or engage any consumer in telephone
              conversation repeatedly or continuously in a manner a reasonable
              consumer would deem to be annoying, abusive or harassing;

              (4) Knowingly and willfully initiate a telemarketing call to a consumer, or
              transfer or make available to others for telemarketing purposes a
              consumer’s telephone number when that consumer has stated previously
              that he or she does not wish to receive solicitation calls by or on behalf of
              the seller unless such request has been rescinded.

28.    MO Rev. 407.1104 provides in pertinent part:

              1. Any person or entity who makes a telephone solicitation to any
              residential subscriber in this state shall, at the beginning of such
              solicitation, state clearly the identity of the person or entity initiating the
              solicitation.
              2. No person or entity who makes a telephone solicitation to a residential
              subscriber in this state shall knowingly use any method to block or otherwise
              circumvent any subscriber’s use of a caller identification service.

CALL ONE

29.    On or about June 29, 2018 at 2:07 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

30.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

31.    Placing the call violated MO Rev. 407.1098.

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32.    The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

33.    The CallerID transmitted in the call was “536-1091 - UNKNOWN NAME”.

34.    The number “536-1091" is not a number assigned to Defendant and is a disconnected
telephone number.

35.    Placing the call violated MO Rev. 407.1104.

36.    Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

37.    Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

CALL TWO

38.    On or about June 30, 2018 at 3:52 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

39.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

40.    Placing the call violated MO Rev. 407.1098.

41.    The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

42.    The CallerID transmitted in the call was “536-6322 - SALON BRANCA”.

43.    The number “536-6322" is not a number assigned to Defendant and is a disconnected
telephone number.

44.    Placing the call violated MO Rev. 407.1104.

45.    Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

46.    Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

47.     Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

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CALL THREE

48.    On or about July 4, 2018 at 11:31 am, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

49.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).
50.    Placing the call violated MO Rev. 407.1098.

51.    The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

52.    The CallerID transmitted in the call was “812-5570 - EXTERNAL CALL”.

53.    The number “812-5570" is not a number assigned to Defendant and is a disconnected
telephone number.

54.    Placing the call violated MO Rev. 407.1104.

55.    Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

56.    Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

57.     Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL FOUR

58.    On or about July 4, 2018 at 12:30 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

59.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

60.    Placing the call violated MO Rev. 407.1098.

61.    The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

62.    The CallerID transmitted in the call was “536-3318 - UNKNOWN NAME”.


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63.    The number “536-3318" is not a number assigned to Defendant and is a disconnected
telephone number.

64.    Placing the call violated MO Rev. 407.1104.

65.    Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

66.    Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

67.     Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL FIVE

68.    On or about July 4, 2018 at 4:12 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

69.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

70.    Placing the call violated MO Rev. 407.1098.

71.    The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

72.    The CallerID transmitted in the call was “536-1979 - UNKNOWN NAME”.

73.    The number “536-1979" is not a number assigned to Defendant and is a disconnected
telephone number.

74.    Placing the call violated MO Rev. 407.1104.

75.    Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

76.    Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

77.     Plaintiff has received more than one telephone call from Defendant within a 12 month
period.




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CALL SIX

78.    On or about July 4, 2018 at 6:58 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

79.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

80.    Placing the call violated MO Rev. 407.1098.

81.    The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

82.    The CallerID transmitted in the call was “812-9734 - EXTERNAL CALL”.

83.    The number “812-9734" is not a number assigned to Defendant and is a disconnected
telephone number.

84.    Placing the call violated MO Rev. 407.1104.

85.    Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

86.    Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

87.     Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL SEVEN

88.    On or about July 5, 2018 at 7:27 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

89.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

90.    Placing the call violated MO Rev. 407.1098.

91.    The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

92.    The CallerID transmitted in the call was “812-4323 - EXTERNAL CALL”.

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93.    The number “812-4323" is not a number assigned to Defendant and is a disconnected
telephone number.

94.    Placing the call violated MO Rev. 407.1104.

95.    Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

96.    Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

97.     Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL EIGHT

98.    On or about July 6, 2018 at 9:25 am, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6678 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

99.    Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

100.   Placing the call violated MO Rev. 407.1098.

101. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

102.   The CallerID transmitted in the call was “536-3748 - UNKNOWN NAME”.

103. The number “536-3748" is not a number assigned to Defendant and is a disconnected
telephone number.

104.   Placing the call violated MO Rev. 407.1104.

105. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

106. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

107. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.




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CALL NINE

108. On or about July 6, 2018 at 10:56 am, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6678 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

109. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

110.   Placing the call violated MO Rev. 407.1098.

111. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

112.   The CallerID transmitted in the call was “536-6335 - UNKNOWN NAME”.

113. The number “536-6335" is not a number assigned to Defendant and is a disconnected
telephone number.

114.   Placing the call violated MO Rev. 407.1104.

115. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

116. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

117. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL TEN

118. On or about July 6, 2018 at 12:58 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

119. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

120.   Placing the call violated MO Rev. 407.1098.

121. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

122.   The CallerID transmitted in the call was “536-2149 - UNKNOWN NAME”.

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123. The number “536-2149" is not a number assigned to Defendant and is a disconnected
telephone number.

124.   Placing the call violated MO Rev. 407.1104.

125. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

126. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).
127. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL ELEVEN

128. On or about July 6, 2018 at 3:56 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6678 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

129. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

130.   Placing the call violated MO Rev. 407.1098.

131. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

132.   The CallerID transmitted in the call was “536-1048 - UNKNOWN NAME”.

133. The number “536-1048" is not a number assigned to Defendant and is a disconnected
telephone number.

134.   Placing the call violated MO Rev. 407.1104.

135. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

136. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

137. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.




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CALL TWELVE

138. On or about July 6, 2018 at 4:12 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

139. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

140.   Placing the call violated MO Rev. 407.1098.

141. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

142.   The CallerID transmitted in the call was “812-1947 - EXTERNAL CALL”.

143. The number “812-1947" is not a number assigned to Defendant and is a disconnected
telephone number.

144.   Placing the call violated MO Rev. 407.1104.

145. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

146. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

147. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL THIRTEEN

148. On or about July 9, 2018 at 4:10 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

149. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

150.   Placing the call violated MO Rev. 407.1098.

151. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

152.   The CallerID transmitted in the call was “536-7707 - HAIR SALOON FOR”.

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153. The number “536-7707" is not a number assigned to Defendant and is a disconnected
telephone number.

154.   Placing the call violated MO Rev. 407.1104.

155. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

156. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

157. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL FOURTEEN

158. On or about July 9, 2018 at 4:44 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

159. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

160.   Placing the call violated MO Rev. 407.1098.

161. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

162.   The CallerID transmitted in the call was “812-1649 - DIEBERGS MARKE”.

163. The number “812-1649" is not a number assigned to Defendant and is a disconnected
telephone number.

164.   Placing the call violated MO Rev. 407.1104.

165. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

166. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

167. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.



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CALL FIFTEEN

168. On or about July 9, 2018 at 6:45 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

169. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

170.   Placing the call violated MO Rev. 407.1098.

171. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

172.   The CallerID transmitted in the call was “812-1885 - FEDERAL STEEL”.

173. The number “812-1885" is not a number assigned to Defendant and is a disconnected
telephone number.

174.   Placing the call violated MO Rev. 407.1104.

175. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

176. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

177. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL SIXTEEN

178. On or about July 11, 2018 at 11:20 am, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

179. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

180.   Placing the call violated MO Rev. 407.1098.

181. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

182.   The CallerID transmitted in the call was “536-1325 - UNKNOWN NAME”.

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183. The number “536-1325" is not a number assigned to Defendant and is a disconnected
telephone number.

184.   Placing the call violated MO Rev. 407.1104.

185. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

186. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).
187. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL SEVENTEEN

188. On or about July 11, 2018 at 3:10 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

189. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

190.   Placing the call violated MO Rev. 407.1098.

191. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

192.   The CallerID transmitted in the call was “812-1386 - DIERBERGS MARKE”.

193. The number “812-1386" is not a number assigned to Defendant and is a disconnected
telephone number.

194.   Placing the call violated MO Rev. 407.1104.

195. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

196. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

197. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.




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CALL EIGHTEEN

198. On or about July 11, 2018 at 4:36 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6678 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

199. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

200.   Placing the call violated MO Rev. 407.1098.

201. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

202.   The CallerID transmitted in the call was “536-7890 - UNKNOWN NAME”.

203. The number “536-7890" is not a number assigned to Defendant and is a disconnected
telephone number.

204.   Placing the call violated MO Rev. 407.1104.

205. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

206. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

207. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL NINETEEN

208. On or about July 12, 2018 at 12:38 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

209. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

210.   Placing the call violated MO Rev. 407.1098.

211. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

212.   The CallerID transmitted in the call was “812-5161 - EXTERNAL CALL”.

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213. The number “812-5161" is not a number assigned to Defendant and is a disconnected
telephone number.

214.   Placing the call violated MO Rev. 407.1104.

215. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

216. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

217. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL TWENTY

218. On or about July 12, 2018 at 5:40 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

219. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

220.   Placing the call violated MO Rev. 407.1098.

221. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

222.   The CallerID transmitted in the call was “812-1837 - BULL MOOSE TUBE”.

223. The number “812-1837" is not a number assigned to Defendant and is a disconnected
telephone number.

224.   Placing the call violated MO Rev. 407.1104.

225. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

226. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

227. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.




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CALL TWENTY-ONE

228. On or about July 13, 2018 at 10:46 am, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

229. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

230.   Placing the call violated MO Rev. 407.1098.

231. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

232.   The CallerID transmitted in the call was “812-5287 - EXTERNAL CALL”.

233. The number “812-5287" is not a number assigned to Defendant and is a disconnected
telephone number.

234.   Placing the call violated MO Rev. 407.1104.

235. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

236. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

237. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL TWENTY-TWO

238. On or about July 14, 2018 at 5:05 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

239. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

240.   Placing the call violated MO Rev. 407.1098.

241. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

242.   The CallerID transmitted in the call was “812-1934 - EXTERNAL CALL”.

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243. The number “812-1934" is not a number assigned to Defendant and is a disconnected
telephone number.

244.   Placing the call violated MO Rev. 407.1104.

245. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

246. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

247. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL TWENTY-THREE

248. On or about July 16, 2018 at 3:13 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

249. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

250.   Placing the call violated MO Rev. 407.1098.

251. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

252.   The CallerID transmitted in the call was “812-1124 - EXTERNAL CALL”.

253. The number “812-1124" is not a number assigned to Defendant and is a disconnected
telephone number.

254.   Placing the call violated MO Rev. 407.1104.

255. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

256. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

257. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.




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CALL TWENTY-FOUR

258. On or about July 17, 2018 at 3:44 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

259. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

260.   Placing the call violated MO Rev. 407.1098.

261. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

262.   The CallerID transmitted in the call was “812-1460 - DIERBERGS MARKE”.

263. The number “812-1460" is not a number assigned to Defendant and is a disconnected
telephone number.

264.   Placing the call violated MO Rev. 407.1104.

265. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

266. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

267. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL TWENTY-FIVE

268. On or about July 18, 2018 at 1:27 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 812-2131 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

269. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

270.   Placing the call violated MO Rev. 407.1098.

271. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

272.   The CallerID transmitted in the call was “1-303-963-7287 - HOME ADVISORS”.

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273. The number “1-303-963-7287" is not a number assigned to Defendant and is a
disconnected telephone number.

274.   Placing the call violated MO Rev. 407.1104.

275. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

276. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

277. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

CALL TWENTY-SIX

278. On or about July 20, 2018 at 11:06 am, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

279. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

280.   Placing the call violated MO Rev. 407.1098.

281. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

282.   The CallerID transmitted in the call was “536-6818 - UNKNOWN NAME”.

283. The number “536-6818" is not a number assigned to Defendant and is a disconnected
telephone number.

284.   Placing the call violated MO Rev. 407.1104.

285. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

286. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

287. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.




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CALL TWENTY-SEVEN

288. On or about August 7, 2018 at 4:32 pm, a telephone call was initiated to Plaintiff’s
residential telephone line at (636) 536-6446 by or on behalf of HomeAdvisor for the purpose of
encouraging the purchase or rental of, or investment in, property, goods, or services.

289. Placing the call was a violation of 47 U.S.C. §227 the Telephone Consumer Protection
Act (TCPA) and the regulations promulgated thereunder 64.12000(c)(2).

290.   Placing the call violated MO Rev. 407.1098.

291. The agent on this call was not properly trained in the disclosure, record keeping and other
requirements of the TCPA and was not sufficiently trained in Defendant’s policies and
procedures to comply with the TCPA resulting in a violation of 47 C.F.R. 64 1200(d)(2).

292.   The CallerID transmitted in the call was “875-4821 - TEBBE DEBRA”.

293. The number “875-4821" is not a number assigned to Defendant and is a disconnected
telephone number.

294.   Placing the call violated MO Rev. 407.1104.

295. Defendants failed to transmit proper caller identification information and did not fulfill
the requirements of 47 C.F.R § 64.1601(e) for this call to Plaintiff’s residential telephone line.

296. Defendant’s acts in this telephone solicitation were willful and/or knowing as those terms
are used in 47 U.S.C. 227(c)(5)(c).

297. Plaintiff has received more than one telephone call from Defendant within a 12 month
period.

298. Plaintiff or her representative requested a copy of the current Do Not Call Policy of
Defendant and provided Plaintiff’s full name and address.

299. A copy of the current Written Do Not Call Policy as required under the TCPA of
Defendant has not been sent to Plaintiff resulting in a violation of 47 C.F.R. 64.1200(d)(1).

                   VIOLATIONS OF THE TCPA AND REGULATIONS

300. That the telephone calls to Plaintiff made by Defendant constituted 28 violation(s) of the
Federal Telephone Consumer Protection Act §227 and following and the regulations
promulgated thereunder FCC (which amended Title II of the Communications Act of 1934, 47
U.S.C. §201 et seq.) which provide for $500 statutory damages for each violation.

301. The TCPA and regulations also provide for tripling of the statutory damages for each
violation if the Court finds that the defendant willfully or knowingly violated the statute or the
regulations prescribed.

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                        VIOLATIONS OF MISSOURI CHAPTER 407

302. Placing the twenty-seven (27) calls violated MO Rev. 407.1076, which provide damages
in the amount of up to $5,000 per violation.

303. Placing each of the twenty-seven (27) calls violated MO Rev. 407.1098 which states No
person or entity shall make or cause to be made any telephone solicitation to any residential
subscriber in this state who has given notice to the attorney general, in accordance with rules
promulgated pursuant to section 407.1101 of such subscriber's objection to receiving telephone
solicitations. Chapter 407.1107 provides for up $5,000 in damages for each knowingly violation.

304. Placing the call violated MO Rev. 407.1104, which provide damages in the amount of up
to $5,000 per violation.

                                          COUNT TWO
                                         Injunctive Relief

305.   Count one is restated as if set forth herein.

306. As provided by 47 U.S.C. §227(b)(3)(A) Defendants or their agent(s) should be
permanently enjoined from violating the provisions of the TCPA.

       WHEREFORE, Plaintiff, prays judgment against Defendants HOMEADVISOR, INC. in

the amount of $270,000 (fifty-four (54) violations x $5,000) for violations of MO Rev. 407 and

$42,000 (twenty-eight (28) violations x $1,500) for violations of the TCPA as provided by 47

U.S.C. 227 for total damages of $312,000, that Defendants be enjoined from making telephone

calls in violation of the Missouri statutes and TCPA, plus Court costs and for such other and

further relief as this Court deem proper.



                                    /s/ Max G. Margulis
                                   Max G. Margulis, #24325
                                  MARGULIS LAW GROUP
                                   28 Old Belle Monte Rd.
                                   Chesterfield, MO 63017
                               P: (636) 536-7022 - Residential
                               F: (636) 536-6652 - Residential
                           E-Mail: MaxMargulis@MargulisLaw.com




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                                CERTIFICATE OF SERVICE

        The undersigned verifies that the attorney named above signed the original of this
document, and the original is maintained at the office of the attorney. I hereby certify that a copy
of the foregoing was sent to the Defendant HOMEADVISOR, INC. by the St. Louis County
Sheriff.

                                       /s/ Max G. Margulis




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             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                              Case Number: 18SL-CC04813
 MARY ELIZABETH OTT
 Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
 MARILYN MARGULIS                                                MAX GEORGE MARGULIS
                                                                 28 OLD BELLE MONTE ROAD
                                                           vs.   CHESTERFIELD, MO 63017
 Defendant/Respondent:                                           Court Address:                                                    SHERIFF FEE
 HOMEADVISORS INC                                                ST LOUIS COUNTY COURT BUILDING
                                                                 105 SOUTH CENTRAL AVENUE                                             PAID
 Nature of Suit:
 CC Injunction                                                   CLAYTON, MO 63105
                                                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: HOMEADVISORS INC
                                      Alias:
  120 SOUTH CENTRAL AVE                                  SERVE REGISTERED AGENT
  CLAYTON, MO 63105                                      CT CORPORATION SYSTEM


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        26-DEC-2018                                             ______________________________________________
                                         Date                                                                        Clerk
                                       Further Information:
                                       TLC
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                     _____________________________________________
                     Printed Name of Sheriff or Server                                                     Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                          Date                                         Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 18-SMCC-10698           1   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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